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 8                        UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA

10   MATTHEW JONES; THOMAS                       Case No.: 19-cv-01226-L-BLM
     FURRH; KYLE YAMAMOTO;
11   PWGG, L.P. (d.b.a. POWAY                    Hon. Judge M. James Lorenz and
12   WEAPONS AND GEAR and PWG                    Magistrate Judge Barbara Lynn Major
     RANGE); NORTH COUNTY
13   SHOOTING CENTER, INC.; BEEBE
14   FAMILY ARMS AND MUNITIONS                   FIRST AMENDED COMPLAINT
     LLC (d.b.a. BFAM and BEEBE                  FOR DECLARATORY AND
15                                               INJUNCTIVE RELIEF
     FAMILY ARMS AND MUNITIONS);
16   FIREARMS POLICY COALITION,
     INC.; FIREARMS POLICY
17
     FOUNDATION; THE CALGUNS
18   FOUNDATION; and SECOND
     AMENDMENT FOUNDATION,
19
                              Plaintiffs,
20   v.
21
     XAVIER BECERRA, in his official
22   capacity as Attorney General of the State
     of California; MARTIN HORAN, in his
23
     official capacity as Director of the
24   Department of Justice Bureau of
     Firearms; and DOES 1-20,
25

26                                Defendants
27

28

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 1
           Plaintiffs, through their undersigned counsel, file this First Amended Complaint

 2   for Declaratory and Injunctive Relief (First Amended Complaint) against the named
 3
     Defendants in their official capacities as state officials responsible under California law
 4

 5   for administering and enforcing state laws and regulations governing the purchase, sale,

 6   transfer, possession, use of, and access to firearms.
 7
           Specifically, Plaintiffs respectfully request that this Court: (i) declare that
 8

 9   California’s law, Penal Code section 27510(a)-(b), and Defendant’s policies and

10   practices of enforcing such law, which prohibits adults not otherwise prohibited
11
     between the ages of 18 and 20 from acquiring or purchasing any firearm (hereinafter
12

13   the challenged “California Age-Based Gun Ban”), as an unconstitutional infringement

14   of Plaintiffs’ constitutional rights under the Second and Fourteenth Amendments of the
15
     United States Constitution; and (ii) permanently enjoin Defendants from enforcing
16

17   Penal Code section 27510(a)-(b), and thereby allow Plaintiffs, and others similarly
18   situated, to acquire, purchase, use, sell or transfer firearms to defend themselves, their
19
     families, and their homes and for all other lawful purposes. In support of this
20

21   Complaint, Plaintiffs hereby allege as follows:
22                              JURISDICTION AND VENUE
23
           1.     This Court has subject-matter jurisdiction over Plaintiffs’ claims in this
24

25   action under 28 U.S.C. § 1331, because the action arises under the Constitution and
26   laws of the United States; and, thus, raises federal questions. The Court also has
27
     jurisdiction under 28 U.S.C. § 1343 and 42 U.S.C. § 1983, because this action seeks to
28
                                                   2
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 1
     redress the deprivation, under color of the laws and statutes of the State of California

 2   and political subdivisions thereof, of rights, privileges, and immunities secured by the
 3
     United States Constitution and laws.
 4

 5         2.     Plaintiffs’ claims for declaratory and injunctive relief are authorized under

 6   28 U.S.C. §§ 2201 and 2202, and 42 U.S.C. § 1983; and their claim for attorneys’ fees
 7
     is authorized under 42 U.S.C. §1988.
 8

 9         3.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) and (b)(2).

10                                          PARTIES
11
           A.     Plaintiffs – Individuals and Entities
12

13         4.     Plaintiff Matthew Jones, an individual, is a 20-year-old resident of Santee,

14   California. Mr. Jones does not have any criminal history, nor is he a member of the
15
     armed services or law enforcement. Mr. Jones does not have a California hunter’s
16

17   license issued by the California Department of Fish and Wildlife, because he has no
18   interest in obtaining a firearm for hunting purposes. Mr. Jones does not currently own
19
     any firearm but wishes to purchase one for self-defense and other lawful purposes.
20

21   Except for the California law (Penal Code § 27510) banning his right to acquire or
22   purchase any firearm due solely to his age, and his reasonable fear of criminal
23
     prosecution for violating that law, Mr. Jones would immediately purchase, acquire,
24

25   and/or possess a firearm within California for self-defense and other lawful purposes.
26   Further, Mr. Jones is currently eligible under the laws of the United States and of the
27
     State of California to purchase, acquire, and receive firearms.
28
                                                  3
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 1
           5.     Plaintiff Thomas Furrh, an individual, is a 20-year-old resident of Vista,

 2   California. Mr. Furrh does not have any criminal history, nor is he a member of the
 3
     armed services or law enforcement. Mr. Furrh does not have a California hunter’s
 4

 5   license issued by the California Department of Fish and Wildlife, because he has no

 6   interest in obtaining a firearm for hunting purposes. Mr. Furrh does not currently own
 7
     any firearm, but wishes to purchase one for self-defense and other lawful purposes.
 8

 9   Except for the California law (Penal Code § 27510) banning his right to acquire or

10   purchase a firearm due solely to his age, and his reasonable fear of criminal prosecution
11
     for violating that law, Mr. Furrh would immediately purchase, acquire, and/or possess
12

13   a firearm within California for self-defense and other lawful purposes. Further,

14   Mr. Furrh is currently eligible under the laws of the United States and of the State of
15
     California to purchase, acquire, and receive firearms.
16

17         6.     Plaintiff, Kyle Yamamoto, an individual, is a 19-year-old resident of
18   Hacienda Heights, California. Mr. Yamamoto does not have any criminal history, nor
19
     is he a member of the armed services or law enforcement. Mr. Yamamoto does not
20

21   have a California hunter’s license issued by the California Department of Fish and
22   Wildlife, because he has no interest in obtaining a firearm for hunting purposes.
23
     Mr. Yamamoto does not currently own any firearm, but wishes to purchase one for
24

25   self-defense and other lawful purposes. Except for the California law (Penal Code
26   § 27510) banning his right to acquire or purchase a firearm due solely to his age, and
27
     his reasonable fear of criminal prosecution for violating that law, Mr. Yamamoto would
28
                                                  4
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 1
     immediately purchase, acquire, and/or possess a firearm within California for

 2   self-defense and other lawful purposes. Further, Mr. Yamamoto is currently eligible
 3
     under the laws of the United States and of the State of California to purchase, acquire,
 4

 5   and receive firearms.

 6         7.     Plaintiff PWGG, L.P. is both a California limited partnership doing
 7
     business as Poway Weapons & Gear and PWG Range (PWG), and a federal and state
 8

 9   licensed firearms retailer and range in Poway, California. PWG is the largest indoor

10   shooting range in California, serving approximately 200,000 visitors per year and
11
     supporting almost 4,000 members. It is also the largest firearm, accessory, and apparel
12

13   retail store in San Diego, California. As part of its range activities, PWG provides

14   firearms for rental use in its three indoor shooting ranges. PWG also provides firearms
15
     training to over 8,000 students per year. Since opening in 2014, PWG has helped
16

17   educate over 50,000 students in firearm use and safety through various courses
18   involving the handling and use of firearms. Due to Defendants’ enforcement of the
19
     prohibition of selling, supplying, delivering, or giving possession or control of a
20

21   firearm to any person under 21 years of age, PWG has been directly and adversely
22   harmed. For example, PWG has been forced to stop, and has stopped, otherwise lawful
23
     sales to adults under the age of 21. It has been forced to stop, and has halted, all firearm
24

25   rentals to adults under the age of 21. Further, PWG has been forced to prohibit, and
26   has prohibited, adults between the ages of 18 to 20 from attending various firearms
27
     classes hosted by PWG. As a direct result, PWG has sustained financial harm, injury,
28
                                                   5
                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     and losses from the sale and rentals of otherwise lawful goods and services.

 2   PWG brings this action on behalf of itself, its members, and other similarly situated
 3
     licensed firearms retailers and shooting ranges in California.
 4

 5         8.     Plaintiff North County Shooting Center Inc. (NCSC) is both an S-Corp

 6   and a federal and state licensed firearms retailer and range in San Marcos, California
 7
     owned by Darin Prince and Stanley Tuma. NCSC is a full-service shooting range and
 8

 9   gun store. NCSC sells firearms, ammunition, and other firearms accessories as part of

10   its retail store. As part of its range activities, NCSC provides firearms for rental use in
11
     its indoor shooting range. NCSC also provides various firearms training courses which
12

13   take place on NCSC premises. Due to Defendants’ enforcement of the prohibition of

14   selling, supplying, delivering, or giving possession or control of a firearm to any person
15
     under 21 years of age, NCSC has been directly and adversely harmed. For example,
16

17   NCSC has been forced to stop, and has stopped, otherwise lawful sales to adults under
18   the age of 21. It has been forced to stop, and has halted, all firearm rentals to adults
19
     under the age of 21. Further, NCSC has been forced to prohibit, and has prohibited,
20

21   adults between the ages of 18 to 20 from attending various firearms classes hosted by
22   NCSC. As a direct result, NCSC has sustained financial injury, harm, and losses from
23
     the sale and rentals of otherwise lawful goods and services. NCSC brings this action
24

25   on behalf of itself, its members, and other similarly situated licensed firearms retailers
26   and shooting ranges in California.
27

28
                                                   6
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 1
           9.      Plaintiff Beebe Family Arms and Munitions, LLC, d.b.a. BFAM and

 2   Beebe Family Arms and Munitions (Beebe Arms) is a federal and state licensed
 3
     firearms retailer in Fallbrook, California owned by Matthew Beebe.                      Due to
 4

 5   Defendants’ enforcement of the prohibition of selling, supplying, delivering, or giving

 6   possession or control of a firearm to any person under 21 years of age, Beebe Arms has
 7
     been directly and adversely harmed. For example, Beebe Arms has been forced to
 8

 9   stop, and has stopped, otherwise lawful sales to adults under the age of 21. More

10   specifically, Beebe Arms was forced to deny Plaintiff Furrh from purchasing/acquiring
11
     a firearm for self-defense. Further, Beebe Arms has been forced to prohibit, and has
12

13   prohibited, adults between the ages of 18 to 20 from attending various firearms classes

14   hosted by Beebe Arms. As a direct result, Beebe Arms has sustained financial harm,
15
     injury, and losses from the sale of otherwise lawful goods and services. Beebe Arms
16

17   brings this action on behalf of itself, its members, and other similarly situated licensed
18   firearms retailers in California.
19
           B.      Institutional Plaintiffs
20

21         10.     Plaintiff Firearms Policy Coalition, Inc. (FPC) is a 26 U.S.C. section
22   501(c)(4) non-profit organization incorporated under the laws of Delaware with its
23
     principal place of business in Sacramento, California. FPC’s members and supporters
24

25   reside both within and outside the State of California, including San Diego County,
26   California.   FPC serves its members, supporters, and the public through direct
27
     legislative advocacy, grassroots advocacy, legal efforts, research, education, outreach,
28
                                                   7
                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     and other programs. FPC also strongly opposed the state legislation (Senate Bill 1100)

 2   that led to enactment of Penal Code section 27510. The purpose of FPC includes
 3
     defending the United States Constitution and the people’s rights, privileges, and
 4

 5   immunities deeply rooted in this country’s history and tradition, especially the

 6   fundamental right to keep and bear arms under the Second Amendment.
 7
     FPC represents its members and supporters, who include licensed California firearm
 8

 9   retailers and gun owners, and brings this action on behalf of itself, its members,

10   supporters who possess all the indicia of membership, and similarly situated members
11
     of the public. FPC’s individual California members have been adversely and directly
12

13   harmed and injured by Defendants’ enforcement of the statutory prohibition on the

14   lawful sale of firearms to adults between the ages of 18 and 20. Indeed, Penal Code
15
     section 27510 has denied, and will continue to deny, millions of responsible,
16

17   law-abiding adults under the age of 21 their fundamental, individual right to keep and
18   bear arms secured under the Second and Fourteenth Amendments of the
19
     U.S. Constitution. Defendants’ actions and failures alleged herein have also caused
20

21   FPC to dedicate resources that would otherwise be available for other purposes to
22   protect the rights and property of its members, supporters, and the general public,
23
     including by and through this action.
24

25         11.   Plaintiff Firearms Policy Foundation (FPF) is a grass roots 501(c)3
26   non-profit public benefit organization. FPF’s mission is to protect and defend the
27
     Constitution of the United States and the People’s rights, privileges and immunities
28
                                                 8
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 1
     deeply rooted in the Nation’s history and tradition, especially the inalienable,

 2   fundamental, and individual right to keep and bear arms. FPF informs the public about
 3
     past and current laws, legal challenges and effects of laws on their members and
 4

 5   supporters’ constitutional rights. FPF has taken, and continues to take, legal action to

 6   advance the Second Amendment rights of its members and supporters. The Court’s
 7
     interpretation of the Second Amendment directly impacts FPF’s organizational
 8

 9   interests, as well as FPF’s members and supporters in California, who enjoy exercising

10   their Second Amendment rights. FPF brings this action on behalf of itself, its members,
11
     supporters who possess all the indicia of membership, and similarly situated members
12

13   of the public. FPF’s individual California members between the ages of 18 and 20 have

14   been adversely and directly harmed and injured by Defendants’ enforcement of the
15
     statutory prohibition on the lawful sale of firearms to adults between the ages
16

17   of 18 and 20. Indeed, Penal Code section 27510 has denied, and will continue to
18   deny, millions of responsible, law-abiding adults under the age of 21 their
19
     fundamental, individual right to keep and bear arms secured under the Second and
20

21   Fourteenth Amendments of the U.S. Constitution. Defendants’ actions and failures
22   alleged herein have caused FPF to dedicate resources that would otherwise be available
23
     for other purposes to protect the rights and property of its members, supporters, and the
24

25   general public, including by and through this action.
26         12.    Plaintiff The Calguns Foundation (CGF) is a section 501(c)(3) non-profit
27
     organization that serves its members, supporters, and the public through educational,
28
                                                  9
                                         FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     cultural, and judicial efforts to advance Second Amendment and related civil rights.

 2   Founded by civil rights activists in California, CGF has taken part in numerous
 3
     litigation efforts to defend innocent gun owners from criminal prosecution and assisted
 4

 5   gun owners with various firearms-related legal issues. CGF has also filed important

 6   supporting amicus briefs in lawsuits filed in courts across the nation in an effort to
 7
     protect Second Amendment rights, including the landmark U.S. Supreme Court case
 8

 9   McDonald v. Chicago. The Court’s interpretation of the Second Amendment directly

10   impacts CGF’s organizational interests, as well as CGF’s members and supporters in
11
     California, who enjoy exercising their Second Amendment rights. CGF brings this
12

13   action on behalf of itself, its members, supporters who possess all the indicia of

14   membership, and similarly situated members of the public.                 CGF’s individual
15
     California members between the ages of 18 and 20 have been adversely and directly
16

17   harmed and injured by Defendants’ enforcement of the statutory prohibition on the
18   lawful sale of firearms to adults between the ages of 18 and 20. Indeed, Penal Code
19
     section 27510 has denied, and will continue to deny, millions of responsible,
20

21   law-abiding adults under the age of 21 their fundamental, individual right to keep and
22   bear arms secured under the Second and Fourteenth Amendments of the
23
     U.S. Constitution. Defendants’ actions and failures alleged herein have caused CGF
24

25   to dedicate resources that would otherwise be available for other purposes to protect
26   the rights and property of its members, supporters, and the general public, including by
27
     and through this action.
28
                                                 10
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 1
           13.    Plaintiff Second Amendment Foundation (SAF) is a non-profit

 2   educational foundation incorporated under the laws of Washington with its principal
 3
     place of business in Bellevue, Washington. SAF seeks to preserve the effectiveness of
 4

 5   the Second Amendment through educational and legal action programs. SAF has over

 6   650,000 members and supporters nationwide, including thousands of members in
 7
     California. The purpose of SAF includes education, research, publishing, and legal
 8

 9   action focusing on the constitutional right to privately own and possess firearms under

10   the Second Amendment, and the consequences of gun control.                       The Court’s
11
     interpretation of the Second Amendment directly impacts SAF’s organizational
12

13   interests, as well as SAF’s members and supporters in California, who enjoy exercising

14   their Second Amendment rights. SAF brings this action on behalf of itself, its
15
     members, supporters who possess all the indicia of membership, and similarly situated
16

17   members of the public. Many of SAF’s individual California members between the
18   ages of 18 and 20 have been adversely and directly harmed and injured by Defendants’
19
     enforcement of the statutory prohibition on the lawful sale of firearms to adults between
20

21   the ages of 18 and 20. Indeed, Penal Code section 27510 has denied, and will continue
22   to deny, millions of responsible, law-abiding adults under the age of 21 their
23
     fundamental, individual right to keep and bear arms secured under the Second and
24

25   Fourteenth Amendments of the U.S. Constitution. Defendants’ actions and failures
26   alleged herein have caused SAF to dedicate resources that would otherwise be available
27

28
                                                 11
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 1
     for other purposes to protect the rights and property of its members, supporters, and the

 2   general public, including by and through this action.
 3
           14.    Plaintiff Matthew Jones brings this case on behalf of himself, and as a
 4

 5   representative of a class of similar individuals consisting of adult, law-abiding

 6   California residents too numerous to individually name or include as parties to this
 7
     action. These are California adult citizens ages 18 to 20 who are not otherwise
 8

 9   prohibited or exempt from Penal Code section 27510, but are now precluded from

10   lawfully purchasing, renting, or acquiring any firearm through licensed firearms
11
     retailers, shooting ranges, and private party transfers, but for Defendants’ enforcement
12

13   of Penal Code section 27510. Plaintiff Jones individually and as a representative on

14   behalf of similarly situated adults have sustained, and will continue to sustain, injury
15
     by not being able to lawfully purchase, rent, or acquire any firearm through licensed
16

17   firearms retailers, shooting ranges, and private party transfers, but for Defendants’
18   enforcement of Penal Code section 27510.
19
           15.    Plaintiff Thomas Furrh brings this case on behalf of himself, and as a
20

21   representative of a class of similar individuals consisting of adult, law-abiding
22   California residents too numerous to individually name or include as parties to this
23
     action. These are California adult citizens ages 18 to 20 who are not otherwise
24

25   prohibited or exempt from Penal Code section 27510, but are now precluded from
26   lawfully purchasing, renting, or acquiring any firearm through licensed firearms
27
     retailers, shooting ranges, and private party transfers, but for Defendants’ enforcement
28
                                                 12
                                         FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     of Penal Code section 27510. Plaintiff Furrh individually and as a representative on

 2   behalf of similarly situated adults have sustained, and will continue to sustain, injury
 3
     by not being able to lawfully purchase, rent, or acquire any firearm through licensed
 4

 5   firearms retailers, shooting ranges, and private party transfers, but for Defendants’

 6   enforcement of Penal Code section 27510.
 7
           16.    Plaintiff Kyle Yamamoto brings this case on behalf of himself, and as a
 8

 9   representative of a class of similar individuals consisting of adult, law-abiding

10   California residents too numerous to individually name or include as parties to this
11
     action. These are California adult citizens ages 18 to 20 who are not otherwise
12

13   prohibited or exempt from Penal Code section 27510, but are now precluded from

14   lawfully purchasing, renting, or acquiring any firearm through licensed firearms
15
     retailers, shooting ranges, and private party transfers, but for Defendants’ enforcement
16

17   of Penal Code section 27510. Plaintiff Yamamoto individually and as a representative
18   on behalf of similarly situated adults have sustained, and will continue to sustain, injury
19
     by not being able to lawfully purchase, rent, or acquire any firearm through licensed
20

21   firearms retailers, shooting ranges, and private party transfers, but for Defendants’
22   enforcement of Penal Code section 27510.
23
           17.    Plaintiff PWG brings this case on behalf of itself, and as a representative
24

25   of a class of similar entities consisting of licensed California retailers too numerous to
26   individually name or include as parties to this action. They are licensed firearms
27
     retailers and shooting ranges in California that are injured because they are now
28
                                                  13
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 1
     prohibited from selling, supplying, delivering, or giving possession or control of a

 2   firearm to any person under 21 years of age, who would otherwise be permitted to
 3
     lawfully purchase, rent, and acquire firearms.
 4

 5         18.    Plaintiff NCSC brings this case on behalf of itself, and as a representative

 6   of a class of similar entities consisting of licensed California retailers too numerous to
 7
     individually name or include as parties to this action. They are licensed firearms
 8

 9   retailers and shooting ranges in California that are injured because they are now

10   prohibited from selling, supplying, delivering, or giving possession or control of a
11
     firearm to any person under 21 years of age, who would otherwise be permitted to
12

13   lawfully purchase, rent, and acquire firearms.

14         19.    Plaintiff Beebe Arms brings this case on behalf of itself, and as a
15
     representative of a class of similar individuals consisting of licensed California retailers
16

17   too numerous to individually name or include as parties to this action. They are
18   licensed firearms retailers in California that are injured because they are now prohibited
19
     from selling, supplying, delivering, or giving possession or control of a firearm to any
20

21   person under 21 years of age, who would otherwise be permitted to lawfully purchase,
22   rent, and acquire firearms.
23
           20.    Plaintiffs FPC, FPF, CGF, and SAF bring this case as public interest
24

25   entities and organizations whose California members ages 18 to 20 are now prohibited
26   from lawfully purchasing, renting, or acquiring firearms. They are California adult
27
     citizens ages 18 to 20 who are not otherwise prohibited or exempt from Penal Code
28
                                                  14
                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     section 27510, but are now precluded from lawfully purchasing, renting, or acquiring

 2   firearms through licensed firearms retailers, shooting ranges, or private party transfers,
 3
     but for Defendants’ enforcement of Penal Code section 27510. The 18-to-20-year-old
 4

 5   members would otherwise have standing to sue in their own right because they are

 6   injured by not being able to purchase, rent, or acquire any firearm in California. Such
 7
     injuries and interests are germane to each entities’ and organizations’ purposes, and
 8

 9   neither the claims asserted nor the relief requested requires participation of these

10   individual members.
11
           21.    As to all claims made in a representative/associational capacity herein,
12

13   there are common questions of law and fact that substantially injure and adversely

14   affect the rights, duties, and criminal liabilities of many similarly situated California
15
     residents who knowingly or unknowingly are subject to the California statute in
16

17   question. The relief sought in this action is declaratory and injunctive in nature, and
18   the action involves matters of substantial public interest that are likely to reoccur over
19
     time with the potential of evading judicial review. Considerations of necessity,
20

21   convenience, and justice justify relief to individual and institutional Plaintiffs in a
22   representative/associational capacity. Further, to the extent it becomes necessary or
23
     appropriate, the institutional Plaintiffs are uniquely able to communicate with and
24

25   provide notice to their thousands of California members and constituents who are or
26   would be party of any identifiable class of individuals for whose benefit this Court may
27
     grant such relief.
28
                                                  15
                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
           C.     Defendants

 2         22.    Defendant Xavier Becerra is the Attorney General of the State of
 3
     California. The Attorney General is the chief law enforcement officer of the state, and
 4

 5   the head of the California Department of Justice. The Attorney General is charged by

 6   Article V, section 13 of the California Constitution with the duty to ensure that
 7
     California’s laws are uniformly and adequately enforced. Defendant Becerra also has
 8

 9   direct supervision over every district attorney, sheriff, and such other law enforcement

10   officers as may be designated by law, in all matters pertaining to the duties of their
11
     respective offices. The Department of Justice and its Bureau of Firearms regulate and
12

13   enforce state laws related to firearms. As Attorney General, Defendant Becerra is

14   responsible for directing and supervising the prosecution of all offenses under
15
     California’s criminal laws, including the statutory ban on purchasing or acquiring
16

17   firearms at issue in this case. The Attorney General is sued herein in his official
18   capacity.
19
           23.    Defendant Martin Horan is Director of the Department of Justice’s Bureau
20

21   of Firearms. Upon information and belief, Defendant Horan reports to Attorney
22   General Becerra, and is responsible for the various operations of the Bureau of
23
     Firearms, including the implementation and enforcement of the statutes and regulations
24

25   governing sales, use, ownership, transfer, and assault weapon registration, of firearms.
26   He is sued herein in his official capacity.
27

28
                                                  16
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 1
           24.    Plaintiffs are unaware of the true names and capacities of those defendants

 2   sued herein as DOES 1 through 20, inclusive, and therefore sue such defendants by
 3
     fictitious names. Plaintiffs are informed and believe and based upon such information
 4

 5   and belief allege that each of the Defendants designated as DOES 1 through 20,

 6   inclusive, is responsible in some manner for promulgating, administering, enforcing,
 7
     or otherwise implementing the DOJ’s enforcement of the statutes at issue herein.
 8

 9   Plaintiffs will amend this complaint to include the true names of Defendant DOES

10   1 through 20, inclusive, as soon as is practicable after such names and capacities
11
     become known to them.
12

13         25.    All Defendants named herein administer or enforce California’s criminal

14   laws, including Penal Code section 27510, against Plaintiffs and other California adult
15
     citizens under color of state law within the meaning of 42 U.S.C. § 1983.
16

17                               FACTUAL ALLEGATIONS
18         26.    The Second Amendment to the United States Constitution provides,
19
     “[a] well-regulated Militia, being necessary to the security of a free State, the right of
20

21   the people to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II.
22         27.    The Second Amendment protects the people’s right acquire, keep, bear,
23
     and possess arms, including firearms, for all lawful purposes including but not limited
24

25   to self-defense. The Second Amendment “guarantee[s] the individual right to possess
26   and carry” firearms, and “elevates above all other interests the right of law-abiding
27

28
                                                  17
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 1
     responsible    citizens   to   use   arms     in    defense     of    hearth     and     home.”

 2   District of Columbia v. Heller, 554 U.S. 570, 635 (2008).
 3
           28.     Once an individual turns 18 years old in this country, he or she is
 4

 5   considered a legal adult free to exercise fundamental constitutional rights pursuant to

 6   the United States Constitution.
 7
           29.     Individuals 18 years and older are considered adults for almost all
 8

 9   purposes. For example, at 18 years old, U.S. citizens can (i) vote, (ii) fully exercise

10   their freedom of speech, (iii) receive the full protections under the 4th, 5th, and 6th
11
     Amendments, (iv) enter into contracts, and (v) serve in the United States military.
12

13         30.     Indeed, male citizens over 18 years of age are designated members of the

14   militia pursuant to federal statute, 10 U.S.C. § 246(a), and may be selected and inducted
15
     for training and service into the United States armed forces, 50 U.S.C. § 3803(a).
16

17   As such, they are eligible to serve in the military, and to die for their country.
18         31.     The ordinary definition of the militia “[i]s all able-bodied men.” Heller,
19
     554 U.S. at 707 (Breyer, J. dissenting). The Supreme Court in Heller recognized that
20

21   through Congress’ plenary power, it organized all able-bodied men between
22   18 and 45 as part of the militia in the first Militia Act. Heller, 554 U.S. at 596. Thus,
23
     the Supreme Court recognized 18-to-20-year-olds as part of the militia; and as such,
24

25   they necessarily have the right to keep and bear arms. Further, as affirmed in Heller,
26   the right to keep and bear arms extends beyond the militia, reserving an individual right
27

28
                                                  18
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 1
     to keep and bear arms for all lawful purposes, “most notably for self-defense within the

 2   home.” McDonald v. City of Chicago, 561 U.S. 742, 780 (2010).
 3
           32.     In addition, the “militia of the State” consists of both the organized and
 4

 5   unorganized militia.    Specifically, the State’s organized militia encompasses the

 6   National Guard, State Military Reserve and the Naval Militia. Cal. Military and
 7
     Veterans Code Section 120.
 8

 9         33.     “The unorganized militia consist of all persons liable to service in the

10   militia, but not members of the National Guard, the State Military Reserve, or the Naval
11
     Militia.” Cal. Military and Veterans Code Section 121.
12

13         34.     “[T]he militia in colonial America consisted of a subset of ‘the people’ –

14   those who were male, able-bodied, and within a certain age range.” Heller, 554 U.S.
15
     at 580. Further, the militias of every colony and state, and the federal militia, included
16

17   18-to-20-year-olds. Indeed, it is “the right of the people to keep and bear arms” that
18   the Second Amendment protects.1 Id., emphasis added.
19

20

21   1
      The Court’s full discussion of “the people”:
           What is more, in all six other provisions of the Constitution that mention “the
22
     people,” the term unambiguously refers to all members of the political community, not
23   an unspecified subset. As we said in United States v. Berdugo-Urquidez, 494 U.S. 259,
     265, 110 S.Ct. 1056, 108 L.Ed.2d 222 (1990):
24
                 “’’[T]he people’ seems to have been a term of art employed in
25               select parts of the Constitution…. [Its uses] sugges[t] that ‘the
26               people’ protected by the Fourth Amendment, and by the First and
                 Second Amendments, and to whom rights and powers are reserved
27
                 in the Ninth and Tenth Amendments, refers to a class of persons
28               who are part of a national community or who have otherwise
                                                  19
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 1
           35.     Despite these facts, the State of California recently enacted legislation,

 2   effective January 1, 2019, that prohibits an entire class of adults from exercising their
 3
     Second Amendment right to keep and bear arms.                  Specifically, California has
 4

 5   prohibited adults ages 18 to 20 from purchasing or acquiring any firearm.

 6   The California law, Penal Code section 27510(a)-(b), also makes it a crime for licensed
 7
     firearms retailers and ranges to sell, supply, deliver, or give possession or control of a
 8

 9   firearm to any person under 21 years of age.

10         36.     By prohibiting licensed firearm retailers and ranges from selling,
11
     supplying, delivering, or giving possession or control of a firearm to any person
12

13   under 21 years of age, the California Age-Based Gun Ban constitutes an

14   unconstitutional infringement on the acquisition or purchase of any firearm and that
15
     ban infringes on the fundamental constitutional rights of not only the Plaintiffs named
16

17   in this Complaint, but thousands of other law-abiding adults throughout California. As
18   such, the California Age-Based Gun Ban is invalid under the Second and Fourteenth
19
     Amendments.
20

21

22   ///
23

24
                 developed suffice connection with this country to be considered
25               part of that community.”
26          This contrasts markedly with the phrase “the militia” in the prefatory
     clause. As we will describe below, the “militia” in colonial America consisted
27
     of a subset of “the people” – those who were male, able bodied, and within a
28   certain age range.
                                                  20
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 1
                              The California Age-Based Gun Ban

 2         37.    On September 28, 2018, then Governor Edmund G. Brown, Jr. signed into
 3
     law Senate Bill 1100 (“SB 1100”, 2017-2018 Reg. Sess.).                    SB 1100 amended
 4

 5   Section 27510 to increase the State’s minimum age for firearm purchase and general

 6   possession, from 18 to 21 years of age. SB 1100 became effective on January 1, 2019.
 7
           38.    Prior to enactment of SB 1100, existing California law prohibited the sale
 8

 9   or transfer of a handgun, except as exempted, to any person under the age of 21.

10   However, then-existing California law also allowed a person at least 18 years of age to
11
     buy or transfer a firearm that is not a handgun (e.g., shotguns, rifles).
12

13         39.    With enactment of SB 1100, however, California’s ban on the acquisition

14   and purchase of all firearms is now complete, except for a few exemptions found in
15
     the new law. For example, Penal Code section 27510, as amended, provides a small
16

17   handful of exemptions, stating the law “does not apply to” the sale, supplying, delivery,
18   or giving possession or control of a firearm to (i) a person 18 years of age or older that
19
     holds a valid hunting license, (ii) an active peace officer that is 18 years of age or older,
20

21   (iii) an active federal officer or law enforcement agent that is 18 or older, (iv) a reserve
22   peace officer that is 18 or older, (v) an active member in the U.S. military that is 18 or
23
     older, and (vi) a person honorably discharged from the military that is 18 or older.
24

25         40.    This means persons between the ages of 18 and 21 that desire to protect
26   themselves, their family or others, must now feign interest in hunting and get a hunting
27
     license, join law enforcement, enlist in the military, or be sure to be honorably
28
                                                   21
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 1
     discharged from the military before lawfully purchasing, renting, acquiring, and

 2   possessing any firearm in California. However, “the people” identified in Heller
 3
     encompass many more than the few identified in the limited exemptions provided in
 4

 5   Penal Code section 27510. Those “people” have a Second Amendment right to keep

 6   and bear arms for an array of lawful purposes, most notably for self-defense.
 7
     McDonald, 561 U.S. at 780.
 8

 9         41.   Further, the firearms dealer that violates the law is guilty of a crime and

10   will be punished in accordance with Penal Code section 27590. Under the California
11
     Age-Based Gun Ban, selling a firearm to a person under 21 is either a felony or a
12

13   misdemeanor. If charged as a felony, the crime is punishable by imprisonment for two,

14   three, or four years.   If charged as a misdemeanor, the crime is punishable by
15
     imprisonment in the county jail for not to exceed one year, by a $1,000 fine, or both
16

17   the fine and imprisonment (see Penal Code § 27590 (b)(6) and (c) (3)). Moreover, the
18   punishment is increased for an alternate felony/misdemeanor if the transferred firearm
19
     was used in the subsequent commission of a felony for which the person is convicted
20

21   and a sentence is imposed (see Penal Code § 27590 (d)(2)).
22                Infringement of Plaintiffs’ and similarly situated adults’
23
                                  Second Amendment rights
24

25         42.   Federal law already significantly constrains the right of adult citizens
26   under the age of 21 from purchasing handguns. Under 18 U.S.C. § 922(b)(1), a
27
     federally licensed firearm dealer may not sell a handgun to any person under the
28
                                                22
                                        FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     age of 21. California’s new ban expands preexisting federal and state law limits by

 2   extending the firearms ban to all firearms, and prohibits adults not otherwise prohibited
 3
     from purchasing firearms from any source — not just federally licensed dealers.
 4

 5         43.    In addition to the various federal limits on firearm acquisitions, California

 6   law independently limits access to firearms for those individuals who are considered
 7
     unsafe, mentally unstable, or otherwise incapable of safely operating a firearm. For
 8

 9   instance, California prohibits access to those (i) convicted of a felony; (ii) convicted of

10   domestic violence; (iii) those subject to a restraining order; (iv) those subject to a gun
11
     violence restraining order; (v) those admitted to a medical facility under Welfare and
12

13   Institutions Code section 5150; (vi) minors under the age of 18; and (vii) various other

14   misdemeanor convictions. See Penal Code §§ 29800, 29805.
15
           44.    California law requires, with few exceptions, that all firearm transfers be
16

17   conducted by a federal licensed dealer. See Penal Code §§ 26500, 26800-26850;
18   See also 27 C.F.R. 478.124(a). This applies even among two private individuals who
19
     wish to transfer a firearm. Because Penal Code section 27510 prohibits licensed dealers
20

21   from “supply[ing], deliver[ing], or giv[ing] possession or control of a firearm to any
22   person under 21 years of age, individuals from 18 to 20 years of age cannot lawfully
23
     acquire firearms through a firearms dealer or through private party transfers. The effect
24

25   of the California Age-Based Gun Ban is to impose a significant, unconstitutional
26   burden on the right to keep and bear arms with regard to an entire class of law-abiding,
27
     adult citizens.
28
                                                  23
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 1
                                  IMPACT ON PLAINTIFFS

 2         45.    Plaintiff Jones is a 20-year-old adult male who, but for the California
 3
     Age-Based Gun Ban and Defendants’ policies, practices, customs, and enforcement of
 4

 5   said law, would be eligible to purchase and possess firearms for lawful purposes,

 6   including self-defense. On April 23, 2019, Mr. Jones entered into AO Sword gun shop
 7
     with the intent to purchase a firearm for self-defense and other lawful purposes.
 8

 9   On information and belief, AO Sword was duly licensed within the meaning of Penal

10   Code sections 26700 to 26915, inclusive. Upon informing the licensed dealer of his
11
     desire to purchase a firearm, Mr. Jones was asked if he was 21. After informing the
12

13   employee that he was 20 years old, Mr. Jones was informed that due to his age,

14   AO Sword would not be able to sell or transfer any type of firearm to him. Because
15
     the licensed dealer was prohibited from transferring Mr. Jones a firearm of any kind
16

17   under Penal Code section 27510, he was denied the ability to exercise his Second
18   Amendment rights, including the “right to use arms in self-defense of hearth and
19
     home.” Heller, 554 U.S. at 635. This unlawful prohibition and infringement on
20

21   Mr. Jones’ Second Amendment rights will continue until he is 21 years old.
22         46.    Plaintiff Jones was not seeking to purchase a firearm in order to hunt and
23
     has no interest in using his firearm for hunting. He does not possess a valid, unexpired
24

25   hunting license issued by the California Department of Fish and Wildlife. Thus, the
26   exemption under Section 27510(b)(1) is inapplicable. Plaintiff Jones is not an active
27
     or retired peace officer or federal officer. He also is not a current or retired member of
28
                                                  24
                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     the armed forces. Thus, the exceptions under Section 27510(b)(2) are inapplicable to

 2   him.
 3
            47.   Plaintiff Furrh is a 20-year-old adult male who, but for the California
 4

 5   Age-Based Gun Ban and Defendants’ policies, practices, customs, and enforcement of

 6   said law, would be eligible to purchase and possess firearms for lawful purposes,
 7
     including self-defense. On May 15, 2019, Mr. Furrh entered Beebe Arms gun shop in
 8

 9   Fallbrook, California, to purchase a firearm for self-defense and other lawful purposes.

10   On information and belief, Beebe Arms was duly licensed within the meaning of Penal
11
     Code sections 26700 to 26915, inclusive. Upon informing the licensed dealer of his
12

13   desire to purchase a firearm, Mr. Furrh was asked if he was 21. After informing the

14   Beebe Arms employee that he was 20 years old, Mr. Furrh was informed that due to
15
     his age, Beebe Arms would not be able to sell or transfer any type of firearm to him.
16

17   Because the licensed dealer was prohibited from transferring Mr. Furrh a firearm of
18   any kind under Penal Code section 27510, he was denied the ability to exercise his
19
     Second Amendment rights, including the “right to use arms in self-defense of hearth
20

21   and home.” Heller, 554 U.S. at 635. This unlawful prohibition and infringement on
22   Mr. Furrh’s Second Amendment rights will continue until he is 21 years old.
23
            48.   Plaintiff Furrh was not seeking to purchase a firearm in order to hunt and
24

25   had no interest in using his firearm for hunting. He does not possess a valid, unexpired
26   hunting license issued by the California Department of Fish and Wildlife. Thus, the
27
     exemption under Section 27510(b)(1) is inapplicable. Plaintiff Furrh is not an active
28
                                                 25
                                         FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     or retired peace officer or federal officer. He also is not a current or retired member of

 2   the armed forces. Thus, the exceptions under Section 27510(b)(2) are inapplicable to
 3
     him.
 4

 5          49.   Plaintiff Yamamoto is a 19-year-old adult male who, but for the California

 6   Age-Based Gun Ban and Defendants’ policies, practices, customs, and enforcement of
 7
     said law, would be eligible to purchase and possess firearms for lawful purposes,
 8

 9   including self-defense. On June 2, 2019, Mr. Yamamoto attended the Crossroads of

10   the West Gun Show (Gun Show) being held in Costa Mesa, California, to purchase a
11
     rifle for self-defense and other lawful purposes. Mr. Yamamoto approached a both
12

13   occupied by a licensed firearms dealer. On information and belief, Crossroads of the

14   West Gun Show was operating within the law and obtained proper state and local
15
     permits. On information and belief, all licensed dealers operating booths at the Gun
16

17   Show were duly licensed within the meaning of Penal Code sections 26700 to 26915,
18   inclusive. Upon informing the licensed dealer of his desire to purchase the rifle,
19
     Mr. Yamamoto was asked for his California Driver’s License. After reviewing
20

21   Mr. Yamamoto’s birth date, the licensed dealer informed Mr. Yamamoto that due to
22   his age, the dealer would not be able to sell or transfer any type of firearm to him.
23
     Because the licensed dealer was prohibited from transferring Mr. Yamamoto a firearm
24

25   of any kind under Penal Code section 27510, he was denied the ability to exercise his
26   Second Amendment rights, including the “right to use arms in self-defense of hearth
27

28
                                                  26
                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     and home.” Heller, 554 U.S. at 635. This unlawful prohibition and infringement on

 2   Mr. Yamamoto’s Second Amendment rights will continue until he is 21 years old.
 3
           50.    Plaintiff Yamamoto was not seeking to purchase a rifle to hunt and has no
 4

 5   interest in using his firearm for hunting. He does not possesses a valid, unexpired

 6   hunting license issued by the California Department of Fish and Wildlife. Thus, the
 7
     exemption under Section 27510(b)(1) is inapplicable. Plaintiff Yamamoto is not an
 8

 9   active or retired peace officer or federal officer. He also is not a current or retired

10   member of the armed forces. Thus, the exceptions under Section 27510(b)(2) are
11
     inapplicable to him.
12

13         51.    Plaintiff PWG is a licensed firearms retailer and range who has the

14   privilege of holding a special weapons permit in the State of California. A major part
15
     of PWG’s business activities include renting firearms to customers in order to use
16

17   those firearms on the PWG ranges. Due to the Penal Code section 27510 prohibition
18   on licensed dealers from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or
19
     control of a firearm to any person under 21 years of age,” PWG has been forced to
20

21   deny numerous otherwise qualified individuals from purchasing, renting, or even
22   handling firearms of any kind from their store and range.
23
           52.    Further, Plaintiff PWG has had to deny numerous adult customers,
24

25   ages 18-20, from attending or taking part in PWG’s firearms classes. Most PWG
26   classes require students to handle firearms in some manner. Because PWG is prevented
27
     from allowing even possession or control of any firearm to adults ages 18-20, PWG
28
                                                 27
                                         FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     has had to deny all adults in that age range from attending their firearms classes who

 2   would otherwise be permitted – even when accompanied by an individual over 21.
 3
           53.    Penal Code section 27510’s prohibitions also prevent Plaintiff PWG from
 4

 5   offering hunter education classes to adults between the ages 18-20 who wish to comply

 6   with Penal Code section 27510’s exemption, which allows individuals over 18 to
 7
     acquire long guns if they possess a valid, unexpired hunting license issued by the
 8

 9   Department of Fish and Wildlife. The hunter’s education classes require that students

10   handle and demonstrate the safe handling of a firearm. Because PWG is prevented
11
     from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control of a firearm
12

13   to any person under 21 years of age,” PWG cannot lawfully provide the necessary

14   instruction for customers to meet this exception.
15
           54.    Thus, Penal Code Section 27510 has not only prohibited Plaintiff PWG
16

17   from selling firearms to otherwise acceptable adults, but it has also required PWG to
18   prevent anyone under the age of 21 from entering their range or attending any of their
19
     classes, due to the liability of potentially supplying a firearm to someone under the
20

21   age of 21.
22         55.    Plaintiff NCSC is a licensed firearms retailer and range in San Marcos,
23
     California. A major part of NCSC’s business activities include renting firearms to
24

25   customers in order to use those firearms on the NCSC range. Due to the Penal Code
26   section 27510 prohibition on licensed dealers from “sell[ing], supply[ing], deliver[ing],
27
     or giv[ing] possession or control of a firearm to any person under 21 years of age,”
28
                                                  28
                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     NCSC has been forced to deny numerous otherwise qualified individuals from

 2   purchasing, renting, or even handling firearms of any kind from their store and range.
 3
           56.    Further, Plaintiff NCSC has had to deny numerous adult customers, ages
 4

 5   18-20, from attending or taking part in NCSC’s firearms classes. Most NCSC classes

 6   require students to handle firearms in some manner. Because NCSC is prevented from
 7
     allowing even possession or control of any firearm to adults ages 18-20, NCSC has had
 8

 9   to deny all adults in that age range from attending their firearms classes who would

10   otherwise be permitted – even when accompanied by an individual over 21.
11
           57.    Penal Code section 27510’s prohibitions also prevent Plaintiff NCSC
12

13   from offering hunter education classes to adults between the ages 18-20 who wish to

14   comply with Penal Code section 27510’s exemption, which allows individuals over
15
     18 to acquire long guns if they possess a valid, unexpired hunting license issued by the
16

17   Department of Fish and Wildlife. The hunter’s education classes require that students
18   handle and demonstrate the safe handling of a firearm. Because NCSC is prevented
19
     from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control of a firearm
20

21   to any person under 21 years of age,” NCSC cannot lawfully provide the necessary
22   instruction for customers to meet this exception.
23
           58.    Thus, Penal Code Section 27510 has not only prohibited Plaintiff NCSC
24

25   from selling firearms to otherwise acceptable adults, but it has also required NCSC to
26   prevent anyone under the age of 21 from entering their range or attending any of their
27

28
                                                  29
                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     classes, due to the liability of potentially supplying a firearm to someone under the

 2   age of 21.
 3
           59.    Plaintiff Beebe Arms is licensed firearms retailer in Fallbrook, California.
 4

 5   As a result of California Age-Based Gun Ban, Beebe Arms was forced to deny

 6   otherwise qualified individuals, and specifically Plaintiff Furrh, the ability to purchase
 7
     any type of firearm. Due to the Penal Code section 27510 prohibition on licensed
 8

 9   dealers from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control of

10   a firearm to any person under 21 years of age,” Beebe Arms has been forced to deny
11
     numerous otherwise qualified individuals from purchasing, renting, or even handling
12

13   firearms of any kind from their store.

14         60.    Penal Code section 27510’s prohibitions also prevent Plaintiff Beebe
15
     Arms from offering hunter education classes to adults between the ages 18-20 who
16

17   wish to comply with Penal Code section 27510’s exemption, which allows individuals
18   over 18 to acquire long guns if they possess a valid, unexpired hunting license issued
19
     by the Department of Fish and Wildlife. The hunter’s education classes require that
20

21   students handle and demonstrate the safe handling of a firearm. Because Beebe Arms
22   is prevented from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or control
23
     of a firearm to any person under 21 years of age,” Beebe Arms cannot lawfully provide
24

25   the necessary instruction for customers to meet this exception.
26         61.    Thus, Penal Code Section 27510 has prohibited Beebe Arms from selling
27
     firearms to otherwise acceptable adults.
28
                                                  30
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 1
           62.    Plaintiff Firearms Policy Coalition is a 501(c)(4) nonprofit organization

 2   that advocates individual liberties and constitutional rights – especially those protected
 3
     under the First, Second, Fifth, and Fourteenth Amendments. FPC’s membership
 4

 5   includes California residents who are between 18 and 20 years of age. Penal Code

 6   section 27510’s ban on firearm sales and transfers to adults within the ages of 18-to-20
 7
     infringes on the Second Amendment rights of these Firearms Policy Coalition
 8

 9   members. FPC brings this action on behalf of these members.

10         63.    Plaintiff FPF is a 501(c)3 nonprofit organization that serves its members,
11
     supporters, and the public through advocating individual liberties and constitutional
12

13   rights – especially those protected under the Second Amendment. FPF’s membership

14   and supporters includes California residents who are over 18, but under 21 years old.
15
     Penal Code section 27510’s ban on firearm sales and transfers to adults within the ages
16

17   of 18-to-20 infringes on the Second Amendment rights of these FPF members and
18   supporters. FPF brings this action on behalf of these members.
19
           64.    Plaintiff CGF is a 501(c)(3) non-profit organization that serves its
20

21   members, supporters, and the public through education, cultural, and judicial efforts to
22   advance Second Amendment and related civil rights.                 CGF’s membership and
23
     supporters includes California residents who are over 18, but under 21 years old. Penal
24

25   Code section 27510’s ban on firearm sales and transfers to adults within the ages
26   of 18-to-20 infringes on the Second Amendment rights of these CGF members.
27
     CGF brings this action on behalf of these members.
28
                                                  31
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 1
           65.    Plaintiff SAF has over 600,000 members and supporters nationwide,

 2   including thousands in the State of California. SAF’s membership includes California
 3
     residents who are over 18, but under 21 years old. Penal Code section 27510’s ban on
 4

 5   firearm sales and transfers to adults within the ages of 18-to-20 infringes on the Second

 6   Amendment rights of these SAF members. SAF brings this action on behalf of these
 7
     members.
 8

 9         66.    Plaintiffs Jones, Furrh, Yamamoto, PWG, NCSC, Beebe Arms, FPC, FPF,

10   CGF and SAF in their representative capacities, include both male and female adults,
11
     who, apart from their age, meet all other state or federal requirements for purchasing
12

13   or possessing firearms. Plaintiffs are not law enforcement, federal officers, or in the

14   armed services; nor do these Plaintiffs have valid, unexpired hunting licenses.
15
     Therefore, they are not exempt from California’s ban.
16

17         67.    But for the California Age-Based Gun Ban, these Plaintiffs would sell,
18   supply, deliver, purchase, and/or transfer handguns, rifles, and/or shotguns for
19
     self-defense and other lawful purposes.
20

21         68.    Penal Code section 27510 constitutes a ban on firearm sales and transfers
22   to adults within the ages of 18-to-20, and as such, infringes on their Second
23
     Amendment rights.
24

25

26   ///
27

28
                                                 32
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 1
                      DECLARATORY JUDGMENT ALLEGATIONS

 2
           69.    There is an actual and present controversy between the parties. Plaintiffs
 3
     contend that Penal Code section 27510 infringes on Plaintiffs’ Second Amendment
 4

 5   rights by prohibiting licensed dealers from “sell[ing], supply[ing], deliver[ing], or
 6
     giv[ing] possession or control of a firearm to any person under 21 years of age,” and
 7
     thus, prohibiting adults between the ages of 18 and 20 from purchasing any firearms.
 8

 9   Defendants deny these contentions. Plaintiffs desire a judicial declaration that Penal
10
     Code section 27510 violates Plaintiffs’ constitutional rights. Plaintiffs should not be
11

12
     denied their constitutional rights as they are lawful adults.

13
                          INJUNCTIVE RELIEF ALLEGATIONS
14

15         70.    Plaintiffs are presently and continuously injured by Defendants’
16   enforcement of Penal Code section 27510 insofar as that provision violates Plaintiffs’
17
     rights under the Second Amendment and Fourteenth Amendment by prohibiting
18

19   licensed dealers from “sell[ing], supply[ing], deliver[ing], or giv[ing] possession or
20
     control of a firearm to any person under 21 years of age,” and thus, prohibiting adults
21
     between the ages of 18 and 20 from purchasing any firearms.
22

23         71.    If not enjoined by this Court, Defendants will continue to enforce Penal
24
     Code section 27510 in derogation of Plaintiffs’ constitutional rights. Plaintiffs have no
25
     plain, speedy, and adequate remedy at law.               Damages are indeterminate or
26

27   unascertainable and, in any event, would not fully redress any harm suffered by
28
                                                  33
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 1
     Plaintiffs because they are unable to engage in constitutionally protected activity due

 2   to California’s ongoing enforcement of Penal Code section 27510.
 3
                                FIRST CAUSE OF ACTION
 4

 5
                         (Violation of U.S. Const. amends. II and XIV)
 6
           72.   Plaintiffs incorporate by reference the allegations of the preceding
 7

 8   paragraphs 1 through 71.
 9
           73.   The Second Amendment’s guarantee of “the right of the people to keep
10
     and bear Arms” secures to law-abiding, adult citizens the fundamental constitutional
11

12   right to purchase and acquire firearms for self-defense and other lawful purposes.
13
     U.S. Const. amend. II.
14
           74.   This Second Amendment right applies against the State of California
15

16   through the Fourteenth Amendment to the U.S. Constitution.
17
           75.   Penal Code section 27510 prohibits lawful, responsible, adult citizens
18
     ages 18 to 20 from purchasing firearms of any type from any source as it prevents
19

20   federal firearms licensees from selling, supplying, delivering, or giving possession or
21
     control of any firearm to any person under 21 years of age.
22
           76.   Penal Code section 27510(b)(1) and (b)(2)(A)-(E) provides a few
23

24   exemptions to this blanket prohibition. The exemptions cover only a relatively small
25
     number of law enforcement, military, and those with current unexpired hunting
26

27

28
                                                34
                                        FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1
     licenses. Penal Code § 27510(b)(2)(A)-(E). These exemptions do not apply to the vast

 2   majority of adult citizens ages 18 to 20.
 3
           77.    Penal Code section 27510 requires that all firearm transfers be conducted
 4

 5   through federally licensed dealers. Thus, section 27510 also prevents private party

 6   transactions from being completed between adult citizens.
 7
           78.    The California Age-Based Gun Ban and Defendant’s policies, practices,
 8

 9   and customs of enforcing said law constitute a ban that infringes on, and imposes an

10   unconstitutional burden upon, the Second Amendment rights of Plaintiffs Jones, Furrh,
11
     Yamamoto, PWG, NCSC, Beebe Arms, FPC, FPF, CGF, and SAF as alleged above.
12

13   Thus, the ban is unconstitutional, invalid, and unenforceable.

14                                  PRAYER FOR RELIEF
15
           WHEREFORE, Plaintiffs pray that the Court:
16

17         1.     Declare Penal Code section 27510 unconstitutional on its face and as

18   applied to Plaintiffs and other similarly situated adults over the age of 18 under the
19
     Second and Fourteenth Amendments to the United States Constitution, and, therefore,
20

21   devoid of any legal force or effect.
22         2.     Temporarily and permanently enjoin Defendants Attorney General Xavier
23
     Becerra and the other named Defendants, and their officers, agents, employees, and
24

25   attorneys, and those persons in active concert or participation with them, and those duly
26   sworn state peace officers and federal law enforcement officers who gain knowledge
27

28
                                                    35
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 1
     of the permanent injunction, or know of its existence, from enforcing Penal Code

 2   section 27510 against Plaintiffs and others similarly situated in its entirety.
 3
            3.    Award remedies available under 42 U.S.C. § 1983 and all reasonable
 4

 5   attorneys’ fees, costs, and expenses under 42 U.S.C. § 1988, or any other applicable

 6   law.
 7
            4.    Grant such other and further relief as the Court may deem proper.
 8

 9   July 30, 2019                                John W. Dillon
                                             Gatzke Dillon & Ballance LLP
10
                                             Attorney for Plaintiffs
11

12                                          By:      /s/ John W. Dillon
                                                     John W. Dillon
13

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                                          FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
